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        Exhibit B
       Case 1:19-cv-02689-LLS Document 81-2 Filed 06/18/20 Page 2 of 29




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
DRESSER-RAND COMPANY,

                        Plaintiff,                     Case No.: 1:19-cv-002689-LLS

            -against-
                                                       NOTICE OF SUBPOENA TO
PETRÓLEOS DE VENEZUELA, S.A. and                       DEUTSCHE BANK TRUST
PDVSA PETRÓLEO, S.A.,                                  CORPORATION

                        Defendants.

TO:    Geoffrey G. Young, Jordan W. Siev, Blake M. Simon
       Reed Smith LLP
       599 Lexington Avenue
       New York, NY 10022

       PLEASE TAKE NOTICE, that pursuant to Rule 45 of the Federal Rules of Civil

Procedure, defendant Petróleos de Venezuela, S.A., by and through its undersigned attorneys,

will serve a subpoena on non-party Deutsche Bank Trust Corporation, in the form attached

hereto, for the production of documents at the offices of Hogan Lovells US LLP, 390 Madison

Avenue, New York, New York 10017, by July 10, 2020.

Dated: June 17, 2020

                                                        HOGAN LOVELLS US LLP

                                                   By: /s/ Dennis H. Tracey, III
                                                       Dennis H. Tracey, III
                                                       Robin L. Muir
                                                       390 Madison Avenue
                                                       New York, New York 10017
                                                       (212) 918-3000
                                                       dennis.tracey@hoganlovells.com
                                                       robin.muir@hoganlovells.com

                                                        Counsel for Defendants Petróleos de
                                                        Venezuela, S.A. and PDVSA
                                                        Petróleo, S.A


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                                          SCHEDULE A

                                          DEFINITIONS

       The definitions and rules of construction set forth in Local Civil Rule 26.3 of the Local

Rules of the United States District Courts for the Southern and Eastern Districts of New York

apply to this subpoena, as well as the following definitions:

       1.      “Deutsche Bank,” “you,” or “your” refers to Deutsche Bank Trust Corporation,

Deutsche Bank Trust Co Americas, and its present or former agents, employees, representatives,

or other persons acting or purporting to act for or on its behalf.

       2.      “Dresser-Rand” refers to Dresser-Rand Company, its present or former agents,

employees, representatives, or other persons acting for or on its behalf.

       3.      “PDVSA” refers to Petróleos de Venezuela, S.A. its present or former agents,

employees, representatives, or other persons acting for or on its behalf.

       4.      “Petróleo” refers to PDVSA Petróleo, S.A., its present or former agents,

employees, representatives, or other persons acting for or on its behalf.

       5.      The “Account” refers to the bank account that Dresser-Rand holds with Citibank

N.A., described as follows:

               Name on Account:                DRESSER-RAND COMPANY RECEIPTS
               Address on Account:             10205 Westheimer Road, Suite 1000
                                               Houston, TX 77042
               Citi Address:                   Citibank N.A.
                                               111 Wall St.
                                               New York, NY 10043
               National Account Number:        30591016
               ABA Routing Number:             021000089
               SWIFT Code:                     CITIUS33

       6.      The      “11/22/2017       E-Mail”      refers        to   an   e-mail   sent   by

zhangxiaochen@citicbank.com on November 22, 2017, a redacted copy of which is annexed

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hereto as Exhibit 1, and was publicly filed with the Court with Dresser-Rand’s permission (Dkt.

54-3 at pp. 5-6).

        7.      The “Protective Order” refers to the parties’ Stipulated Confidentiality and

Protective Order annexed hereto as Exhibit 2.

                                         INSTRUCTIONS

        1.      This subpoena is a continuing request, and to the extent that at any time after the

production of documents called for by this subpoena, you become aware of or acquire additional

documents responsive to this subpoena, such documents shall be produced promptly.

        2.      A request for any document shall be deemed to include a request for all drafts

thereof and all revisions and modifications thereto in addition to the document itself.

        3.      A request for any document shall be deemed to include, in addition to the

document itself, a request for any transmittal sheets and cover letters accompanying the

requested document, exhibits and attachments to the document, and enclosures sent with the

document.

        4.      If any document requested in this subpoena is not produced on the basis of an

assertion of the attorney-client privilege, work-product doctrine, or any claim of privilege or

immunity, identify each such document together with sufficient information to permit the court

to make a determination as to whether there is a proper basis for withholding such a document.

In so doing, the following information must be supplied in writing: (i) the type of document (e.g.,

letter, memorandum or report); (ii) the general subject matter of the document; (iii) the date of

the document; (iv) the author or sender of the document; (v) the addressee or recipient of the

document; (vi) each person who received a copy of the document; (vii) the privilege asserted;

and (viii) the basis for asserting such a privilege.

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       5.        If an objection to any particular portion of this subpoena is asserted, documents

responsive to any other portion of this subpoena as to which there is no objection must be

produced.

       6.        The documents requested should be produced as they were kept in the ordinary

course of business, and should be produced with any file folder labels in a manner that will

enable PDVSA to determine the person, database, or records from whose files each document

was obtained, or, alternatively, the documents can be labeled to correspond to the categories in

this subpoena.

       7.        Electronic documents shall be produced in readily usable and searchable

electronic format.

       8.        Unless otherwise stated, this subpoena seeks documents and information from

April 20, 2017 to the present.

                              DOCUMENTS TO BE PRODUCED

       1.        Documents sufficient to show Deutsche Bank’s policies with respect to the receipt

or transfer of funds of PDVSA or Petróleo.

       2.        All correspondence with Dresser-Rand concerning any transfer or attempted

transfer of funds by or on behalf of PDVSA or Petróleo.

       3.        All correspondence with PDVSA or Petróleo concerning any transfer or attempted

transfer of funds by or on behalf of PDVSA or Petróleo.

       4.        All documents concerning the transfer or attempted transfer of funds by or on

behalf of PDVSA or Petróleo.

       5.        All documents and correspondence concerning the “two outward payments”

referenced in the 11/22/2017 E-Mail (Ex. 1).

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       6.      All documents and correspondence concerning the “internal DB policy”

referenced in the 11/22/2017 E-Mail (Ex. 1).

       7.      All documents and correspondence concerning any rejection by Deutsche Bank of

a transfer of funds to the Account by or on behalf of PDVSA or Petróleo that are not already

being produced in response to an earlier request.




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                            EXHIBIT 1




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                            EXHIBIT 2




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